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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:23-cv-61354

    PROGRESSIVE        EXPRESS
    INSURANCE COMPANY,

          Plaintiff,

    vs.

    RASIER-DC, LLC, a foreign limited
    liability    company;       UBER
    TECHNOLOGIES, INC., a foreign
    corporation;    and       KARINA
    MONASTERIO, individually,

         Defendants.
    ____________________________/

                       PROGRESSIVE’S STATEMENT OF MATERIAL FACTS
          Plaintiff, Progressive Express Insurance Company (“Progressive”), by and through its
   attorneys, Morgan & Akins, PLLC, pursuant to and in accordance with Local Rule 56.1 of the
   Local Rules for the United States District Court for the Southern District of Florida, submits this
   “Statement of Material Facts,” for consideration in connection the contemporaneously filed
   “Progressive’s Motion for Summary Judgment.” In support thereof, Progressive states as follows:
                               STAEMENT OF MATERIAL FACTS
          1.      Rasier-DC, LLC (“Rasier”), operated at Transportation Network Company in
   Florida. (Progressive’s Amend. Compl., [DE 12, ¶ 20]; Rasier and Uber’s Ans. to Amend. Compl.,
   [DE 18, ¶ 20]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim
   [DE 22, ¶ 20]).
          2.      On March 1, 2022, Progressive issued a “Transportation Network Company
   Commercial Auto Policy,” Policy Number 06250110-8 (the “Period 2-3 Policy”), to Defendant,
   Rasier as a named insured. (Progressive’s Amend. Compl., [DE 12 ¶ 21]; Rasier and Uber’s Ans.
   to Amend. Compl., [DE 18, ¶ 21]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def.,
   Crossclaim, and Counterclaim [DE 22, ¶ 21]; Policy, [DE 12-1]).
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          3.      Defendant, Uber Technologies, Inc., was an additional insured under the Period 2-
   3 Policy. (Progressive’s Amend. Compl., [DE 12 ¶ 22]; Rasier and Uber’s Ans. to Amend. Compl.,
   [DE 18, ¶ 22]; Policy, [DE 12-1, p. 23]).
          4.      The limits of liability coverage under the Period 2-3 Policy are $1,000,000
   combined single limit. (Progressive’s Amend. Compl., [DE 12 ¶ 23]; Rasier and Uber’s Ans. to
   Amend. Compl., [DE 18, ¶ 23]; Policy, [DE 12-1, p. 5]).
          5.      The Period 2-3 Policy references UM/UIM Coverage, providing, in pertinent part,
   as follows:
                  PART III—UNINSURED MOTORIST

                  INSURING AGREEMENT—UNINSURED                          MOTORIST
                  BODILY INJURY COVERAGE

                  Subject to the Limits of Liability, if you pay the premium for this
                  coverage, we will pay damages, other than punitive or exemplary
                  damages, that an insured is legally entitled to recover from the
                  owner or operator of an uninsured auto because of bodily injury:

                  1.      sustained by an insured;

                  2.    caused by an accident occurring while the TNC driver is
                  engaged in providing a prearranged service; and

                  3.    arising out of the ownership, maintenance, or use of an
                  uninsured auto.

   (Progressive’s Amend. Compl., [DE 12 ¶ 24]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 24]; Policy, [DE 12-1, p. 56]).
          6.      The Period 2-3 Policy defines the term “accident,” in pertinent part, as “a sudden,
   unexpected and unintended event that causes bodily injury or property damage.” (Progressive’s
   Amend. Compl., [DE 12 ¶ 25]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶ 25];
   Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim [DE 22, ¶ 25];
   Policy, [DE 12-1, p. 41])(emphasis in original).
          7.      The term “insured auto,” is defined in the Period 2-3 Policy, in pertinent part, as
   “any auto while being used by a TNC driver, but only while engaged in providing a prearranged
   service utilizing the ride-share application accessed using that TNC driver’s valid
   credentials;…” (Progressive’s Amend. Compl., [DE 12 ¶ 26]; Rasier and Uber’s Ans. to Amend.


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   Compl., [DE 18, ¶ 26]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and
   Counterclaim [DE 22, ¶ 26]; Policy, [DE 12-1, p. 42])(emphasis in original).
          8.      A “prearranged service,” is defined in the Period 2-3 Policy, in pertinent part, as
   follows:
                  a.      the operation of any insured auto while the driver is logged
                  on to the ride-share application and has recorded acceptance in the
                  ride-share application of a request to provide covered TNC
                  operations and is engaged in one of the following activities:
                          (i)     traveling to the accepted pick-up location of the
                  passenger(s) or goods to be delivered, including the picking up of
                  any passenger(s) or goods, and the pick-up location is in the state of
                  Florida; or
                          (ii)    traveling to the final destination location of the
                  passenger(s) or goods, including the dropping off of any
                  passenger(s) or goods, and the pick-up location was in the state of
                  Florida;.

   (Progressive’s Amend. Compl., [DE 12 ¶ 27]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 27]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim [DE
   22, ¶ 27]; Policy, [DE 12-1, p. 43])(emphasis in original).
          9.      The Period 2-3 Policy also contained an additional definition for the term “insured,”
   concerning Part III coverage, expanding it, as follows:
                  ADDITIONAL DEFINITIONS USED IN THIS PART ONLY
                  When used in this Part III, whether in the singular, plural, or
                  possessive:
                  1. “Insured” means:
                          a.       You;
                          b.       Any TNC driver operating an insured auto who has
                  entered into a contract with you to provide covered TNC
                  operations via the ride-share application and whose contract was
                  in force at the time of the subject accident or loss; and
                          c.       Any person while occupying and insured auto who
                  is using the valid credentials of any other person at the time of the
                  subject accident or loss is not an “insured” for purposes of this Part
                  III.

   (Progressive’s Amend. Compl., [DE 12 ¶ 28]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 28]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim [DE
   22, ¶ 28]; Policy, [DE 12-1, p. 44]).



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          10.    UM/UIM Coverage was not provided in the Period 2-3 Policy because Rasier, the
   named insured, did not pay the required premium for UM/UIM Coverage as required under the
   Period 2-3 Policy. (Progressive’s Amend. Compl., [DE 12 ¶ 29]; Rasier and Uber’s Ans. to Amend.
   Compl., [DE 18, ¶ 29]).
          11.    On January 1, 2022, two (2) months before the Period 2-3 Policy’s effective date,
   Amy Wagner, the insured’s Head of North American Insurance, executed a “Florida Rejection or
   Selection of Uninsured Motorist Coverage and Stacked or Non-Stacked Limits,” form.
   (Progressive’s Amend. Compl., [DE 12 ¶ 29]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 29]; UM/UIM Selection Rejection Form, [DE 12-3]).
          12.    The UM/UIM Selection Rejection Form provided, in pertinent part, as follows:




   (Progressive’s Amend. Compl., [DE 12 ¶ 30]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 30]; UM/UIM Selection Rejection Form, [DE 12-3]).
          13.    $1 Million in UM/UIM coverage was specifically offered, made available, and
   rejected by the applicant, Rasier. (Progressive’s Amend. Compl., [DE 12 ¶¶ 29-30, ¶¶ 69-70];
   Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶¶ 29-30, 69-70]; UM/UIM Selection
   Rejection Form, [DE 12-3]).
          14.    Rasier, the applicant and named insured, admitted making a written rejection of
   UM/UIM coverage on behalf of all insureds, on the UM/UIM Selection Rejection Form.
   (Progressive’s Amend. Compl., [DE 12 ¶¶ 84-86]; Rasier and Uber’s Ans. to Amend. Compl., [DE
   18, ¶¶ 84-86]; UM/UIM Selection Rejection Form [DE 12-3]).




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          15.       The Commercial Auto Insurance Coverage Summary (the “Declarations Page”),
   for the Period 2-3 Policy, specifically reflects that UM/UIM Coverage was rejected. (Progressive’s
   Amend. Compl., [DE 12 ¶ 31]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶ 31]; Dec.
   Page, [DE 12-2]).
          16.       The Declarations Page provides, in pertinent part, as follows:




   Progressive’s Amend. Compl., [DE 12 ¶ 32]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18,
   ¶ 32]; Dec. Page, [DE 12-2]).
          17.       As reflected in the Period 2-3’s Declaration Page, the Limits of Liability for
   UM/UIM Coverage is zero because the coverage was rejected. Progressive’s Amend. Compl., [DE
   12 ¶ 33]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶ 33]; Dec. Page, [DE 12-2]).
          18.       Defendant, Karina Monasterio, downloaded the Uber App to operate as a partner-
   driver in January or February, 2022. (Ex. A, K. Monasterio Dep., p. 80:22-25).
          19.       As part of that process to operate as a partner driver, she was required to
   acknowledge and sign off on agreements before operating. (Ex. A, K. Monasterio Dep., p. 81:1-5;
   89:4-8).
          20.       Those agreements specifically included the “Platform Access Agreement.” (Ex. A,
   K. Monsterio Dep., p. 81:22-82:19; Ex. B, Platform Access Agreement).
          21.       The Platform Access Agreement that Monasterio signed and executed specifically
   provided that:
                            3.5     Uber Maintained Insurance. We may, in our sole
                    discretion, choose to maintain auto insurance related to your Rides,
                    but we are not required to provide you with any specific coverage
                    for loss to you or your vehicle, unless we specifically describe it in
                    an addendum to this PAA. We can change, reduce or cancel


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                   insurance that is maintained by us, if any, at any time without notice
                   to you or authorization from you or authorization from you.

   (Ex. A, K. Monasterio Dep., p. 82:24-83:10; Ex. B, Platform Access Agreement).
             22.   Monasterio acknowledged that ‘addendum to the PAA’ addressed available
   insurance coverage to her in Florida. (Ex. A, K. Monasterio Dep., p. 83:11-21; Ex. C, P2P Service
   Only Addendum – City Addendum, Florida).
             23.   The ‘addendum to the PAA,’ as acknowledged by Monasterio, provided, in
   pertinent part, as follows:
                   Beginning when a User request for transportation has been accepted
                   within the Uber application and ending when the last requesting
                   User departs from your vehicle, a trip is ended, or a trip is cancelled,
                   whichever is later, Company maintains primary automobile liability
                   insurance in the amount of $1,000,000 for death, bodily injury and
                   property damage. In addition, during this period Company maintains
                   Medical Payments coverage in the amount of $5,000 per insured. If
                   a driver holds Comprehensive and Collision coverage on his/her
                   personal auto policy, then Company also maintains coverage for
                   physical damage to the vehicle with a $2,500 deductible.

   (Ex. A, K. Monasterio Dep., p. 83:11-21; Ex. C, P2P Service Only Addendum – City Addendum,
   Florida).
             24.   As Monasterio acknowledged, neither the Platform Access Agreement, nor the
   operative addendum, mention or suggest that UM/UIM Coverage would be provided. (Ex. A, K.
   Monasterio Dep., p. 87:19-24; Ex. B, Platform Access Agreement; Ex. C, P2P Service Only
   Addendum – City Addendum, Florida).
             25.   At some point, Monasterio claims she looked at the Uber App and saw a
   “Certificate of Insurance.” (Ex. A, K. Monasterio Dep., p. 90:10-18; Cert. of Insurance [DE 12-4,
   p. 5]).
             26.   That document disclosed insurance coverage available, but did not contain the
   words “uninsured/underinsured motorist” anywhere. (Ex. A, K. Monasterio Dep., p. 90:19-21;
   Cert. of Insurance [DE 12-4, p. 5].
             27.   On May 6, 2022, Defendant, Monasterio, owned and was driving a 2022 Honda
   Accord, Vehicle Identification No. 1HGCV1F35LA129244 (the “Honda”). (Progressive’s Amend.
   Compl., [DE 12 ¶ 34]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶ 34]; Monasterio’s
   Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim, [DE 22, ¶ 34]).

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          28.    The Honda was not specifically identified in the Period 2-3 Policy by make, model,
   Vehicle Identification Number.
          29.    Monasterio, logged into the “Uber” ride share application and accepted a request
   on the Uber App to provide a ride for a passenger, Bradford Cavanaugh. (Progressive’s Amend.
   Compl., [DE 12 ¶¶ 35-36]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶¶ 35-36];
   Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim [DE 22, ¶¶
   35-36]).
          30.    At some point prior to 10:45 a.m., Monasterio, picked up Cavanaugh at the
   Hollywood-Fort Lauderdale Airport. (Progressive’s Amend. Compl., [DE 12 ¶ 37]; Rasier and
   Uber’s Ans. to Amend. Compl., [DE 18, ¶ 37]; Monasterio’s Ans., Demand for Jury Trial, Aff.
   Def., Crossclaim, and Counterclaim [DE 22, ¶¶ 37]).
          31.    During this pre-arranged ride, Monasterio, was driving the Honda when another
   individual, Michael Israel, lost control of his vehicle, spun through three lanes of traffic, and
   collided with Monasterio’s vehicle. (Progressive’s Amend. Compl., [DE 12 ¶ 38]; Rasier and
   Uber’s Ans. to Amend. Compl., [DE 18, ¶ 38]; Monasterio’s Ans., Demand for Jury Trial, Aff.
   Def., Crossclaim, and Counterclaim [DE 22, ¶ 38]).
          32.    As a result of this incident, Defendant, Monasterio, contends that she has sustained
   significant bodily injuries. (Progressive’s Amend. Compl., [DE 12 ¶ 39]; Rasier and Uber’s Ans.
   to Amend. Compl., [DE 18, ¶ 39]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def.,
   Crossclaim, and Counterclaim [DE 22, ¶ 39]).
          33.    On August 17, 2022, Monasterio, filed a lawsuit in the Seventeenth Judicial Circuit
   in and for Broward County, Florida, Case No. CACE-22-012164 (the “Lawsuit”), in connection
   with the May 6, 2022 accident. (Progressive’s Amend. Compl., [DE 12 ¶ 40]; Rasier and Uber’s
   Ans. to Amend. Compl., [DE 18, ¶ 40]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def.,
   Crossclaim, and Counterclaim [DE 22, ¶ 40]; State Compl., [DE 12-4]).
          34.    In the Complaint, Defendant, Monasterio, asserted claims against Progressive in
   which she contended that she is entitled to receive UM/UIM benefits pursuant to the Period 2-3
   Policy. (Progressive’s Amend. Compl., [DE 12 ¶ 41]; Rasier and Uber’s Ans. to Amend. Compl.,
   [DE 18, ¶ 41]; Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim
   [DE 22, ¶ 41]; State Compl., [DE 12-4]).



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          35.     Monasterio alleged that the incident occurred while she was engaged in a
   “prearranged ride;” with and individual who was under insured, and for which Progressive was
   obligated to provide UM/UIM Coverage under the Period 2-3 Policy. (Progressive’s Amend.
   Compl., [DE 12 ¶¶ 43-46]; Rasier and Uber’s Ans. to Amend. Compl., [DE 18, ¶¶ 43-46];
   Monasterio’s Ans., Demand for Jury Trial, Aff. Def., Crossclaim, and Counterclaim [DE 22, ¶¶
   43-46]; State Compl., [DE 12-4]).
          36.     Progressive filed the present action seeking a declaration (albeit set forth in multiple
   counts) that there was no UM/UIM Coverage under the Period 2-3 Policy. [DE 1, Compl.; DE 12;
   Amend. Compl.].
          37.     Defendants Uber and Rasier conceded that there was no UM/UIM coverage under
   the Period 2-3 Policy. [See DE 18, Uber/Rasier Answer to Declaratory Judgment Action].
          38.     Monasterio opposed the requested declaration, contending that: (i) Progressive had
   ‘unclean hands,’ and was somehow estopped or precluded from denying that there is UM/UIM
   Coverage under the Period 2-3 Policy; (ii) denying the material allegations of the Declaratory
   Judgment Action; and (iii) filing a Counter Claim essentially arguing the opposite (i.e., that the
   TNC Statute preclude reducing or waiving UM/UIM Coverage). (Monasterio’s Ans., Demand for
   Jury Trial, Affirm. Def., Cross Claim, and Counterclaim [DE 22]).




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    Dated: January 25, 2024                      Respectfully submitted,


                                                 /s/ Patrick K. Dahl
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
   of Court using the CM/ECF system on January 25, 2024, and the foregoing document is being
   served this day on all counsel or parties of record on the Service List below, either via transmission
   of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
   counsel or parties who are not authorized to receive Notices of Electronic Filing.

                                          ___/s/ Patrick K Dahl________
                                          Patrick K. Dahl, Esquire




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